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                     UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
United States of America,

      Plaintiff,
v.                                                  ORDER
                                                    Crim. No. 11‐228
Gerald Joseph Durand (02),

      Defendant.
___________________________________________________________________

      David J. MacLaughlin and Tracy L. Perzel, Assistant United States
Attorneys, Counsel for Plaintiff.

      Brian N. Toder, Chestnut Cambronne P.A., Counsel for Defendant Gerald
Durand.
___________________________________________________________________

      This matter is before the Court on the motion of the Government to

exclude an undercover recording initiated by the FBI involving cooperating

witness Christopher Pettengill and Defendant Durand. (Doc. No. 264) The

Government argues any statements made by Durand in this recording are

hearsay, as such statements are exculpatory and therefore do not fall within the

exception to hearsay set forth in Fed. R. Evid. 801(d) (2) (A). In response,

Durand argues that the undercover recording is not offered to prove the truth of

the matter asserted, instead, the recording would be offered to impeach

Pettengill.


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        The Court finds that any statements made by Pettengill in the recording

may be used for impeachment purposes, and those statements may be presented

to the jury. Any statements made by Durand, however, are exculpatory and are

therefore inadmissible hearsay. United States v. Edwards, 159 F.3d 1117, 1127

(8th Cir. 1998). Durand’s statements will not be presented to the jury.

        IT IS HEREBY ORDERED that the Government’s Motion to Exclude Self‐

Serving Hearsay by Defendant Durand [Doc. No. 264] is GRANTED as to any

statements made by Defendant Durand.

Date:    May 11, 2012




                                       s/Michael J. Davis
                                       Michael J. Davis
                                       Chief Judge
                                       United States District Court




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